Case 1:23-cr-00029-APM Document 29 Filed 06/26/23 Page 1 of 1

CO 526 Rev. 5/2018

UNITED STATES DISTRICT AND BANKRUPTCY COURTS
FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA

vs. Criminal Case No.: 23-cr-29 (APM)

BOBBY WAYNE RUSSELL

Nowe Nee ee ee ee ee ee”

WAIVER OF TRIAL BY JURY

With the consent of the United States Attorney and the approval of the Court, the defendant

~ A: } WM or

]

waives his right to trial by jury.

Defendant

    
 
 
  

 

Counsel for Defendant

 

 

Assistefat'United States attorney

Approved:

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& TS
L Date: 6/26/2023

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